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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

 BROIDY CAPITAL MANAGEMENT
 LLC, et al.
                                                     Civil Action No. 1:19-cv-00150-DLF

             Plaintiffs,


        v.


 NICOLAS D. MUZIN, et al.


             Defendants.




                          PLAINTIFFS’ RESPONSE TO
               DEFENDANTS’ NOTICE OF SUPPLEMENTAL AUTHORITY

       Both DNC v. Russian Federation, 18-cv-03501, (SDNY) (“DNC”) and this suit allege

state-sponsored hacking; the similarities end there. In DNC, “[a]t most, the DNC has alleged that

after the Russian Federation stole the DNC’s documents, [Russian agents] told campaign

members about the stolen documents . . . WikiLeaks requested the stolen documents and

published them, and some of the other defendants welcomed the publication of the documents at

times helpful to the Campaign.” DNC at 39-40. The DNC complaint did not allege that other

defendants agreed to participate in the theft or even had advance knowledge of the hack. DNC at

38.

       Defendants here, by contrast, were Qatar’s agents (as they concede), with complementary

roles in the scheme from its inception. See, e.g., Dkt. #40-1 at 19-25 (relying on agency to assert
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“derivative sovereign immunity”). Defendants joined Qatar’s scheme at the outset, identifying

Broidy to Qatar as a target, then curating stolen emails into packets for maximum impact.1

       These differences have legal consequences. The First Amendment does not immunize

people who plan a hack, then organize portions of the stolen material for publication. As in

Quigley v. Rosenthal, 327 F.3d 1044, 1067 (10th Cir. 2003), Bartnicki does not protect

publication of private conversations by persons aware of the illegal behavior as it occurred. See

DNC at 43.2 Defendants would immunize all hack participants but the technician who clicked

the mouse.

       The contrasting factual contexts also render inapposite DNC’s “additional reasons” for

dismissing RICO and other claims:

                       DNC                                              Broidy
 Insufficiently asserted association-in-fact        Long-standing association-in-fact, including
 under RICO, pleading only “scattered               well-paid agents, coordinating
 contacts between the alleged AIF.” DNC at          complementary activities. Dkt. #43 at 13-15.
 53.
 Failed to allege common goal. Id. at 54-55.        Common goal of silencing criticism of Qatar.
                                                    Id.
 Failed to allege defendants managed or             Defendants identify target, develop purpose
 operated enterprise; Russia stole the              of hack, curate materials to create adverse
 documents without telling other                    publicity. Id. at 12-25.
 “conspirators.” Id. at 57-58.
 Did not allege stolen documents contained          Identifies trade secrets and each defendant’s
 trade secrets and only two defendants even         role in misappropriation and dissemination.
 possessed or published them. Id. at 61.            Id. at 44.
 No pattern of racketeering; scheme lasted          Ongoing criminal enterprise that began in
 only nine months with no threat of                 2014, targeted more than 1,400 individuals,
 reoccurring. Id. at 66-67.                         and continues today. Id. at 72-77.




       1
          See Dkt. #43 at 13-17, 132-34 (detailing Defendants’ involvement in Qatar’s criminal
enterprise before the hacking); Dkt. #18-2, ¶ 34 (discussing Defendants’ role in curation and
distribution of stolen documents).
        2
          Bartnicki also does not apply where, as here, the disseminator passes on only curated
portions of the stolen materials. Quigley at 1067. Regardless, SDNY erred ruling that parties
who are not members of the press are entitled to Bartnicki’s First Amendment shield.

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                       DNC                                                  Broidy
 Failed to allege stolen documents were trade          Plaintiffs’ business plans, proposals, costs,
 secrets that derived value from secrecy. Id. at       service projections, and important contacts
 74.                                                   qualify as trade secrets whose secrecy was
                                                       carefully protected. Id. at 49-51.
 Failed to allege stolen documents were used           Defendants acquired, curated, and
 prior to becoming public. Id.                         disseminated Plaintiffs’ trade secrets before
                                                       publication. Id. at 17-23, 86.

Finally, the dismissal of DNC’s Virginia state-law claims has no relevance to the California

state-law claims at issue here. Accordingly, DNC is nonbinding and inapposite.


Dated: August 13, 2019                                   Respectfully submitted,

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                                 CERTIFICATE OF SERVICE

        I hereby certify that on August 13, 2019, I electronically filed the foregoing by using the

Court’s CM/ECF system to all counsel and parties receiving electronic notice of pleadings filed

in this case.

                                                      /s/ Filiberto Agusti
                                                      Filiberto Agusti
